   Case: 1:11-cv-00336 Document #: 235 Filed: 12/31/13 Page 1 of 5 PageID #:8097




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
Blakes, et al.,
                              Plaintiffs,
                    vs.                           CASE NO. 11-cv-336
Illinois Bell Telephone Company d/b/a             Judge Kim
AT&T Illinois,                                    On Consent
                             Defendant.

              PLAINTIFFS’ MOTION TO TOLL THE STATUTE OF LIMITATIONS
        Plaintiffs, James Blakes, et al., by and through their attorneys, Aaron B. Maduff and

Walker R. Lawrence of Maduff & Maduff, LLC, submit Plaintiffs’ Motion to Toll the Statute of

Limitations. In support thereof, the Plaintiffs state as follows:

        On December 17, 2013, this Court issued a Memorandum and Order, wherein it

granted, in part, and denied in part Defendant’s Motion for Decertification. Specifically, this

Court granted the Defendant’s motion except to the Plaintiffs’ claim that Illinois Bell’s

policies force cable splicers to forego pay for time spent submitted their time sheets.

Because the decision keeps the collective intact, the order did not dismiss any plaintiff, but

it did reduce the claims that the collective may pursue in this case.

        In this regard, any one member of the collective might now have the right to re-file

their respective claims. Alvarez v. City of Chicago, 605 F.3d 445, 450 (7th Cir. 2010)(“When

a collective action is decertified, it reverts to one or more individual actions on behalf of the

named plaintiffs.) However, the Court’s Memorandum and Order did not did not speak to

the amount of time, if any, the Court would toll the statute of limitations for the those

individuals to choose to pursue their respective claims. Decertification is not, and never has

been, interpreted as a ruling on the merits. However, without an equitable tolling of the

Opt-ins’ statute of limitations, the Opt-ins will be prejudiced, insofar as the Court’s ruling
   Case: 1:11-cv-00336 Document #: 235 Filed: 12/31/13 Page 2 of 5 PageID #:8098




could amount to a de facto determination on the merits of certain claims. Moreover,

equitable tolling in this case is necessary to allow the parties to engage in settlement efforts

consistent with the Court’s order. Accordingly, Plaintiffs request that the Court equitably

toll the statute of limitations for the Opt-ins to pursue their respective claims that are not

part of this lawsuit for 90 days following the Court’s entry of its order on the Defendant’s

motion for decertification.

       The doctrine of equitable tolling allows a court to exercise its discretion to suspend

the statute of limitations where, as here, it would be inequitable to enforce the statute of

limitations. The doctrine applies to cases brought under the Fair Labor Standards Act

(“FLSA”) because the doctrine of equitable tolling “. . . is read into every federal statute of

limitations.” Holmberg v. Ambrecht, 327 U.S. 392, 397 (1946). See also Partlow v. Jewish

Orphans Home of Southern California, Inc., 645 F.2d 757 (9th Cir. 1981) (tolling limitations

in an FLSA action and allowing Plaintiffs to re-file consents when Plaintiffs were dismissed

from a collective action because the attorneys had unethically solicited consents).

       Courts routinely apply equitable tolling in FLSA cases where decertification has

been granted. In Smith v. Heartland Automotive Services, Inc., 404 F.Supp.2d 1144, at n. 9 (D.

Minn. 2005), in the court’s order granting decertification, the court held that the “Order will

be stayed for sixty days in order to toll any applicable statute of limitations.” Similarly, in

Reyes v. Tex. EZPawn, L.P., 2007 U.S. Dist. LEXIS 1461 (S.D. Tex. Jan. 8, 2007), upon

decertifying the collective action, the court tolled the statute of limitations for the

dismissed plaintiffs for a period of 30 days “to avoid prejudice to individual opt-in Plaintiffs

who may choose to file their own cases.”
   Case: 1:11-cv-00336 Document #: 235 Filed: 12/31/13 Page 3 of 5 PageID #:8099




       In Proctor v. Allsups Convenience Stores, Inc., 250 F.R.D. 278 (N.D. Tex. 2008), upon

decertifying the class, the court tolled the statute of limitations of dismissed plaintiffs for

30 days “to avoid prejudice to individual opt-in plaintiffs, who may choose to file their own

cases.” In Johnson v. Big Lots Stores, Inc., 2008 U.S. Dist. LEXIS 123265 (E.D. La. July 24,

2008), the district court equitably tolled the statute of limitations for a period of 45 days

following the entry of its order granting plaintiffs’ motion to equitably toll the statute of

limitations. See also, Smith v. Heartland Auto. Servs., 404 F. Supp. 2d 1144, 1155 (D. Minn.

2005) (order was tolled for 60-days); Beauperthuy v. 24 Hour Fitness USA, Inc., 772 F. Supp.

2d 1111 (N.D. Cal. 2011) (order was tolled for 30-days); Ulvin v. Northwestern Nat'l Life Ins.

Co., 141 F.R.D. 130 (D. Minn. 1991)(order was tolled for 60-days); Johnson v. TGF Precision

Haircutters, Inc., 2005 U.S. Dist. LEXIS 44259, 34-35 (S.D. Tex. Aug. 17, 2005)( “To avoid

prejudice to individual opt-in Plaintiffs who may choose to file their own cases, the Court

invokes its equity powers to toll the applicable statutes of limitations for 30 days after the

entry of this Order. The claims of Plaintiff Celia Johnson remain pending herein for trial.”);

Roussell v. Brinker Int'l, Inc., 2008 U.S. Dist. LEXIS 109663 (S.D. Tex. Nov. 4, 2008)(“

Plaintiffs' Motion to Toll Statute of Limitations (Doc. No. 173) is hereby GRANTED. The

Dismissed Opt-ins' statute of limitations is hereby tolled for the 45 days subsequent to the

entry of the Court's Order of September 30, 2008. (Doc. No. 172.)”); Zivali v. AT&T Mobility,

LLC, 2011 U.S. Dist. LEXIS 101084 (S.D.N.Y. June 2, 2011)(“ the date of the Court's Opinion

and Order. Courts routinely toll the statute of limitations following decertification of FLSA

actions to avoid prejudice to the opt-in plaintiffs and allow them time to file their own

case”); Sliger v. Prospect Mortg., LLC, 2012 U.S. Dist. LEXIS 170701 (E.D. Cal. Nov. 29,
   Case: 1:11-cv-00336 Document #: 235 Filed: 12/31/13 Page 4 of 5 PageID #:8100




2012)(“It is admittedly common for federal district courts to toll the statute of limitations

for individual actions in granting decertification motions in collective actions under FLSA.”)

       Plaintiffs seek 90 days to toll the statute of limitations of the Dismissed Opt-ins for a

number of reasons. First, the decision was issued almost a week before Christmas and it

may be difficult to advise Opt-Ins of his or her rights until the beginning of the New Year.

Ninety days is necessary because dissemination of the Court’s ruling, consultation with the

Opt-ins, and the decision-making regarding additional suits of the Opt-ins or motions to

intervene of the Opt-ins will take more than 30 or 60 days. In addition, the Court has

required the parties to discuss whether settlement may be possible, and exchange

settlement letters. Equitable tolling will allow both parties to fully explore settlement

possibilities without the threat of a running statute of limitations on those claims that are

no longer part of the collective. Plaintiff has discussed this motion with the Defendant but

has not received a response. Because there is potentially an eroding statute of limitations

this motion was filed.

       For the foregoing reasons, Plaintiffs respectfully move this Honorable Court to

equitably toll the statute of limitations for 90 days following the Court’s Order granting in

part and denying in part the Defendant’s Motion for Decertification.

                                                Respectfully Submitted,

                                                By:/s/ Walker R. Lawrence

   Walker R. Lawrence
   Atty No. 6296405
   Maduff & Maduff, LLC
   Michigan Plaza At Illinois Center
   205 N. Michigan Ave
   Suite 2050
   Phone: 312-276-9000
   Case: 1:11-cv-00336 Document #: 235 Filed: 12/31/13 Page 5 of 5 PageID #:8101




                                     CERTIFICATE OF SERVICE

       By my signature below, I hereby certify that on Tuesday, December 31, 2013, I

electronically filed Plaintiffs’ Motion To Toll The Statute Of Limitations with the Clerk of the

Court by using the CM/ECF System, which will send notice to counsel of record.

                                                 Respectfully Submitted,

                                                 By:/s/ Walker R. Lawrence

   Walker R. Lawrence
   Atty No. 6296405
   Maduff & Maduff, LLC
   Michigan Plaza At Illinois Center
   205 N. Michigan Ave
   Suite 2050
   Phone: 312-276-9000
